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November 15, 2021

Via ECF

Honorable Katherine Polk Failla
                                                     MEMO ENDORSED
Southern District of New York
40 Foley Square, Room 2103
New York, New York 10007

Re:    HLT Existing Franchise Holding LLC and Hilton Domestic Operating Co. Inc. v. Maa
       Amba, Inc., et al., Case No. 21-cv-5842

Dear Judge Failla:

We are counsel to Plaintiffs HLT Existing Franchise Holding LLC and Hilton Domestic
Operating Company Inc. in the above-captioned action (the “Action”). We write with the
consent of Defendants Maa Amba, Inc., Dilip G. Patel, and Naina D. Patel, and on behalf of all
parties to request an adjournment of the initial conference currently scheduled for November 17,
2021. This is the parties’ second request for an adjournment of this date. The parties’ first
request for adjournment was granted.

As the Court is aware, on November 10, 2021, the parties appeared telephonically before
Magistrate Judge Freeman for a settlement conference. At the conference, the parties agreed to a
settlement in principle and are currently in the process of finalizing the documents to reflect their
agreement. Because the settlement of this Action would negate the need for an initial
conference, the parties respectfully request that the Court adjourn the initial conference for thirty
days to provide the parties with time to finalize their agreement and file a stipulation of dismissal
of the Action.



                                                             Respectfully submitted,

                                                             /s/ Christos G. Papapetrou
                                                             Christos G. Papapetrou

 cc: Michael Garner, counsel for Defendants (via ECF)

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The Court is in receipt of the parties' above joint request to
adjourn the upcoming conference in this matter. By Order dated
November 10, 2021, the Court conditionally discontinued this case
and, by extension, adjourned all remaining dates and deadlines.
(Dkt. #47). Accordingly, the parties' request is denied as moot.

The Clerk of Court is directed to terminate the motion at docket
entry 46.



Dated:   November 15, 2021              SO ORDERED.
         New York, New York



                                        HON. KATHERINE POLK FAILLA
                                        UNITED STATES DISTRICT JUDGE
